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                 THE STATE EDUCATION DEPARTMENT / THE UNIVERSITY OF THE STATE OF NEW YORK / ALBANY, NY 12234

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                                                                              March 17, 2020

TO:            School District Superintendents
               School Principals
               BOCES District Superintendents
               School District Business Officers
               Special Education Directors
               Charter School Leaders

FROM:          Shannon L. Tahoe, Interim Commissioner of Education

RE:            Additional Guidance on Statewide School Closures Due to Novel Coronavirus
               (COVID-19) Outbreak in New York State

Purpose/Background

Pursuant to Executive Order 202.4, school districts, charter schools, and nonpublic schools are to
close no later than Wednesday, March 18, 2020, for a period of two weeks, ending March 31, 2020
as a result of the outbreak of the Novel Coronavirus (COVID-19) occurring in New York State.
Schools should be implementing response plans and have established mechanisms for ongoing
communications with staff, students, families, and communities during this time of closure.

In addition, the Executive Order directs school districts to establish a COVID-19 closure plan for
alternative instructional options (electronic and non-electronic), distribution and availability of
meals, and child care, with an emphasis on serving children of parents in the health care profession
or first responders who are critical to the response effort.

Such plans shall be submitted to the State Education Department no later than by 5 pm on
Thursday, March 19, 2020. School districts in New York City, Westchester, Nassau and
Suffolk counties are not required to submit plans as these plans were already submitted by
the counties. The plans may be amended or modified by the State Education Department, in
consultation with the Department of Health and Office of Children and Family Services at any
time. Instructions for School Districts to submit their COVID-19 plans are included later in this
memo.

The following is the most up to date and best guidance the Department has as of today, March
17, 2020. As you know, this is a rapidly evolving situation and it is expected that additional
guidance will be issued as the situation warrants and as we obtain information from our state and
federal partners. The Department will send updated guidance as quickly as it can. Please check the
New York State Department of Health (DOH) Novel Coronavirus webpage and the New York
State Education Department’s (NYSED’s) COVID-19 website for updates frequently. Please also
see guidance released by the Department on March 13, 2020 for information on additional


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topics. School Districts should also be informed by the additional resources for elementary and
secondary schools released by the U.S. Department of Education (USDE) on March 12, 2020:
   •   Protecting Student Privacy: FERPA and the Coronavirus
   •   Questions and Answers on Providing Services to Children with Disabilities During the
       COVID-19 Outbreak
   •   Fact Sheet: Addressing the Risk of COVID-19 in Schools While Protecting the Civil Rights
       of Students

Feeding Children During School Closure

As schools close in response to the COVID-19 pandemic, it is critical that schools plan with their
community partners to provide meals to all students and particularly to students who rely on the
two meals a day provided in school when school is open.

School Food Authorities (SFA) must provide meals to all low-income children during school
closures related to COVID-19 and to every child who comes to their meal sites.

All School Districts, regardless of whether they are seeking a Summer Food Service Program
Waiver, must submit their plan on meal provision to children in their community to the
Department by 5 pm on March 19, 2020. Information on how to submit this plan is contained
later in this memo.

SFAs also should complete the Summer Food Service Program application posted with this
memo and submit the application to CNCOVID@nysed.gov. The application will be reviewed
and given final approval by the Office of Child Nutrition.

   •   SFAs should develop a system to serve meals in a manner that best fits their situation and
       community. SFAs should provide “Grab and Go” breakfast and lunch at one distribution,
       if possible, at staggered times, to maintain social distancing.

   •   Consideration should also be given to areas where distance may prohibit easy access to
       distribution sites. SFAs should consider whether delivery of meals is possible using school
       transportation options or through partnerships with community organizations.

   •   SFAs should ensure that information regarding food accessibility is provided in ways
       ensured to reach families in need in their identified preferred language about the SFA’s
       plan for meal access.

   •   School districts must work with their communities or county feeding organizations (food
       banks, food pantries, Red Cross, etc.) to identify resources to address the needs of all
       children in their community and particularly, low-income children. Work with your
       community partners for distribution of food to students by instituting meal pick-up and
       delivery options. Meals should be coordinated to have them available to both children and
       adults at one location. Efforts should also be made minimize the distance families are
       forced travel to access these options. Information regarding your regional food bank or
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       emergency relief organization can be found at Regional Food Bank and Emergency Relief
       Organization.

If SFAs are not able to provide access to meals for their free and reduced price lunch population
for any reason, they must notify the State Education Department immediately at
CNCOVID@nysed.gov.

Community Based Organizations that are SFSP sponsors are encouraged to apply to provide
reimbursable meals to low-income children during school closures related to COVID-19 and
coordinate with schools and communities to ensure children in need have access to meals when
schools are closed. SFSP sponsors must complete the application posted with this memo and
submit it to CNCOVID@nysed.gov as soon as possible.

Further information on the application process and considerations for schools is provided in the
Frequently Asked Questions guidance on the Child Nutrition website.

If the SFA or SFSP sponsor has the capacity to provide meals to adults, they may do so but will
not be reimbursed for those meals. SFAs and SFSP sponsors should consider their inventory and
other resources to sustain service to children before considering service to adults.

Continuity of Learning

The US Department of Education (USDE) has provided guidance on the importance of ensuring
the continuity of learning in the event of student or school dismissal. The guidance provides
recommendations to help schools maintain the continuity of learning for individual or small groups
of students for an extended period of time or for large groups of students disrupted by
dismissals/absences for an extended period of time.

Continuity of learning is the continuation of education in the event of a prolonged school closure
or student absence. It is a critical component of school emergency management, as it promotes
the continuation of teaching and learning. However, many considerations play a role in the
development of continuity of learning programs, such as access and availability, type and quality
of materials, and the length of time that the various types of learning will require.

The following includes a range of tools and modalities for facilitating learning, including those
with varying levels of technological sophistication. It is important to provide a variety of methods
to allow for the possibility of restricted access to technology and limited communication by
students. Options include:
   •   Printed Materials including textbooks, photocopies of reference materials, curriculum, and
       assignments prepared in advance for distribution to affected students;

   •   Communication Tools including telephone and video calling, email, web conferencing,
       social media;

   •   Teacher/Student Interface including teacher office hours, quick check-ins, and individual
       or small group synchronous tutorials facilitated using a variety of technologies such as
       telephone, email or web conferencing;
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   •   Recorded instruction disseminated via podcasts, live or on demand television, DVD,
       captioned closed circuit or public access television, or online on a website or through a
       Learning Management System;

   •   Online materials or other aligned content, including digital copies of textbooks, reference
       materials, assignments, audio-visual learning supports, and interactive learning activities
       can be made available on the internet through online learning platforms or web sites; and
   •   Online learning courses, either taught by a teacher or self-paced.

The New York State Education Department is compiling a digitized catalogue of resources that
will assist schools in providing content related learning activities for their students. This resource
will be available in the coming days on the Curriculum and Instruction website.

New York State schools must consider the needs of all students and strive to ensure that any plans
for continuity of learning are equitable and available to all students.

School Districts should submit their continuity of education plans to the Department by 5 pm on
March 19, 2020. Instructions and requirements for charter schools is forthcoming.

Child Care Plans

Schools are an important part of the community and are charged with the care and instruction of a
community’s youngest members. Therefore, during a public health emergency, schools and
districts are integral parts of a state’s emergency response plan.

Pursuant to the Governor’s Executive Order 202.4, school districts in NYS are required to establish
and submit plans for the care of children of essential health care workers and first responders and
to address other identified student needs. The needs of children are addressed on a regular basis
by districts through many types of programs including Pre-K, afterschool programs, day cares,
school-aged child care centers, and a range of activities and partnerships.

Essential health care workers may include licensed health professionals such as physicians, nurse
practitioners, physician assistants, registered nurses, LPNs and nurse assistants or laboratory
personnel     and    direct    support     professionals.  First   responders    may     include
paramedics, emergency medical technicians, police officers, and firefighters.

   •   Districts should build upon the myriad of projects and partnerships with existing
       community-based organizations (CBOs) that are already licensed through the Office of
       Children and Family Services (OCFS) when developing their child care plans.

   •   Where possible, school districts should consider working collaboratively with other
       districts and with their county partners to provide child care access.

   •   Districts may also wish to contact their Child Care Resource and Referral agencies for
       information regarding available child care placements in existing programs.


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The district’s emergency child care plan will need to consider and include the following:

   •   Gathering emergency contact information, consents for emergency care, consents for
       medication or nursing treatments or special diet, transfer of healthcare provider orders to
       the school/district or CBO providing care.

   •   The maximum group size of children being provided child care is 10.

Districts in partnership with CBO grantees of 21st Century Community Learning Centers (CCLC)
funds are reminded that the CBO must meet the requirements to have a School Aged Child Care
(SACC) license, and their staff have the required infant and toddler care training required by the
SACC license, even if that is not the population of children served by the 21st CCLC program.
Additionally, Districts should consider any of the Extended School Day/School Violence
Prevention or other afterschool or child care providers in their districts. Districts who have
relationships with school aged child care centers, should have the SACC program contact OCFS
regional offices for possible expansion of, or changes to, an existing license for the duration of the
emergency.

Such creative and innovative uses of licensed CBO partners will also provide opportunities for
continued employment by personnel trained and experienced in working with infant, toddlers, and
school-aged children.

Another benefit of partnering with licensed CBOs is that personnel involved in district programs
already in place are cognizant of OCFS health and safety requirements as well as the districts’
requirements. Trained personnel will be beneficial in explaining some of the differences between
school and child care provider health and/or medication requirements.

OCFS has provided a list of daycares and afterschool centers by district.

OCFS has also provided a list of home-based daycare centers (small providers – up to 8 children).

Districts may also have relationship with providers of 21st Century Community Learning Centers
in New York City Programs and for 21st Century Community Learning Centers Rest of State
programs. Extended School Day School Violence Prevention Programs may also be of help.

Student and Staff Social Emotional and Mental Health Needs During School Closure

Students and teachers transitioning to online learning and practicing social distancing are
experiencing a major, and likely disconcerting, change in daily activities and interactions, and with
that, are under a great deal of stress. During this period in which our ability to check in on one
another in person is limited, it is even more critical that we find ways to reach out and check in
with each other virtually, supporting everyone’s social emotional learning (SEL) and mental
health.

Consider offering explicit online SEL or mental health education lessons or incorporate
opportunities to practice SEL competencies within academic subject areas. Using community

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circles in virtual staff meetings and online classes could offer all adults and students an opportunity
to be heard, and to voice their experience and concerns. These circles might also offer insights as
to adults or students who might benefit from an additional check-in. Consider offering adults,
students and families tools for coping with the stresses of isolation and anxiety in this difficult
time. Clearly communicate to families how and where they can reach out with any concerns
including by phone and email.

The following NYSED resources are available to support Social Emotional Learning and Mental
Health Education:

       •   Social Emotional Learning Resources and Guidance Materials
       •   Mental Health Education Resources and Guidance Materials

Student Medication and Equipment Return

School personnel are reminded to contact parents/guardians regarding medications and health
equipment that remain in possession of the school after closure. School personnel should contact
the parent/guardian to make arrangements for the parent/guardian to pick up the medications
and/or equipment if needed for use at home during school closure. If the parent/guardian cannot
get to the school, schools will need to make alternate arrangements for getting the necessary
medicine and/or equipment to the parent/guardian. Alternate arrangements may include planning
to meet at alternate locations, utilizing couriers, or sending it home with another adult such as a
neighbor or friend.

When returning medication to a parent/guardian or adult designee, school personnel should note
the count or volume of the medication that is being returned and have the receiver sign for the
medication count or volume that they are receiving. Please keep copies of that information in the
student’s medical record. Please see the NYS Center for School Health website for sample Receipt
Forms for Medications.

If schools reopen prior to the end of the school year, please inform parents that they will need to
again provide their student(s)’ medication and/or health equipment to the school, so that
medication administration and/or nursing treatments at school can be resumed.

Updated 180-Day Requirements

Pursuant to Executive Order 202.4 issued on March 16, 2020, any closure during the period of
March 18, 2020 through March 31, 2020 of a public school district (including Special Act School
Districts) or charter school will satisfy the requirements for a waiver of the usually required
reduction in monies payable to public school districts and charter schools under Education Law
section 3604. Such waiver shall not be granted if such closure extends beyond March 31, 2020,
unless otherwise directed by the Governor.

The requirement under Commissioner’s Regulations 200.7(b)(5) and 200.20(a)(6) to operate for
not less than 180 days during the 10 month school year shall not apply to any closure during the
period of March 18, 2020 through March 31, 2020 of a nonpublic school with an approved special
education program subject to articles 81 and/or 89 of the education law, state supported school
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pursuant to article 85 of the education law, or approved preschool Special Class and Special Class
in an Integrated Setting program pursuant to section 4410 of the education law.

The Department will provide further updates on this when more information becomes available.

Submitting School District COVID-19 Plans

To facilitate the timely collection and review of district COVID-19 Plans consistent with the
Executive Order, NYSED has created online templates for each of the three sections that must be
completed by each school district. Individual plan sections to be completed include:

   •    COVID-19 – School District Child Care Plan
   •    COVID-19 – School District Child Nutrition Plan
   •    COVID-19 – School District Continuity of Education Plan

Each of the plan sections may be accessed in the SED Monitoring and Vendor Performance
System by completing the following steps:

   1.   Go to Business Portal http://portal.nysed.gov.
   2.   Click on the “Log In” button
   3.   Enter your username and password
   4.   Click on “SED Monitoring and Vendor Performance System” under My Applications
   5.   Select “View Surveys for School Closure”
   6.   Find the desired plan section
   7.   Click on ‘view’ to begin/continue to input information

Detailed further instructions begin on p. 8 of this memo.

Information and Assistance

For general questions regarding this bulletin, please contact the dedicated mailbox:
covid19@nysed.gov.

For specific questions about school meal programs, please contact the Child Nutrition Office at
518-473-8781 or email cn@nysed.gov.

For specific questions about special education, please contact the Office of Special Education by
email at speced@nysed.gov.

For specific questions about civil rights compliance, contact the U.S. Department of Education
Office of Civil Rights at 1-800-421-3481, ocr@ed.gov.

For relevant guidance regarding how schools can protect civil rights during an outbreak, see the
U.S. Department of Education Office of Civil Rights Fact Sheet released during the 2014 Ebola
outbreak.

Please direct any student privacy questions to: FERPA@ed.gov or Privacy@nysed.gov.
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For specific questions about state assessments, please contact the Office of State Assessment at
518-474-5920 or email emscassessinfo@nysed.gov.

For state aid questions, please contact the Office of Education Finance by telephone at 518-474-
2977.

For questions related to participation rates and institutional accountability, please contact the
Office of Accountability at accountinfo@nysed.gov.

Charter School Questions       should    be   directed   to   the   Charter   school   Office   at:
charterschools@nysed.gov.




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User’s Guide for Submitting COVID-19 Plan

Per Executive Order No. 202.4: Continuing Temporary Suspension and Modification of Laws
Relating to the Disaster Emergency, school districts shall develop a plan for alternative
instructional options, distribution and availability of meals, and child care, with an emphasis on
serving children of parents in the health care profession or first responders who are critical to the
response effort. Such plans shall be submitted to the State Education Department and may be
amended or modified by the State Education Department, in consultation with the Department of
Health and Office of Children and Family Services at any time.

Toward that end, NYSED has published in the NYSED Business Portal three plan sections that
must be completed by each district. Districts must submit each of the three sections of the plan by
completing the following steps:
1. Go to the Business Portal (http://portal.nysed.gov).

2. Click on the Log In button. If needed, a user may also reset a previously assigned password.




3. Enter your username and password.

4. Click on "SED Monitoring and Vendor Performance System" under My Applications.




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5. Select "View Surveys for School Closure".

6. Find the plan sections titled:

   •   COVID-19 – School District Child Care Plan
   •   COVID-19 – School District Child Nutrition Plan
   •   COVID-19 – School District Continuity of Education Plan

7. For each plan section, click on “View” to begin/continue to input information.




8. LEAs may access any section or page of the application by clicking on one of the links in
   the Survey Navigation panel. LEAs are not required to complete sections in the order they
   appear in the survey navigation menu.




9. Districts are required to answer all questions marked with a red asterisk. If a required question
   has not been completed, the business portal will highlight it in red and the section of the
   application will be flagged. The applicant will be unable to submit the plan section to NYSED
   for final review if a required question remains unresolved. Please note that districts are NOT
   REQUIRED to send hard copies of materials to the Department.

10. Each of the three sections of the COVID-19 Plan must be submitted/certified by the
    Superintendent. The Superintendent is the only administrator with the submit/certify rights
    necessary to successfully submit and certify a completed application for NYSED review.

11. Please contact the SEDDAS Help Desk at SEDDAS@nysed.gov to resolve any questions
    related to user accounts, password resets, the SEDDAS application, and assistance with the
    Business Portal itself.



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